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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

  FRED HIEBER,

        Plaintiff,                                    CASE NO.: 8:18-cv-02557-JSM-SPF
 v.

  PAYPAL, INC.,

        Defendant.



_____________________________________________________________________________

                          NOTICE OF PENDING SETTLEMENT


       Plaintiff, FRED HIEBER, by and through his undersigned counsel, hereby submits this

Notice of Settlement and states that Plaintiff, FRED HIEBER, and Defendant, PAYPAL, INC.,

have reached a settlement with regard to this case and are presently drafting, finalizing, and

executing the settlement and dismissal documents. Upon execution of same, the parties will file

the appropriate dismissal documents with the Court.



                                              /s/Amanda J. Allen, Esq.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on December 27, 2018, the foregoing was served using the

CM/ECF system, which will provide electronic notice of filing to all counsel of record.



                                                 /s/Amanda J. Allen, Esq.
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